Case 2:20-cv-09806-KK Document 17 Filed 04/26/21 Page 1 of 1 Page ID #:50




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                UNITED STATES DISTRICT COURT
13              CENTRAL DISTRICT OF CALIFORNIA
14   LATRICE MALONE,                  )
                                      ) Case No. 2:20-cv-09806-KK
15       Plaintiff,                   )
16                                    ) [PROPOSED]
                v.                    ) JUDGMENT OF REMAND
17
     ANDREW SAUL,                     )
18   Commissioner of Social Security, )
19
                                      )
         Defendant.                   )
20                                    )
21                                    )
22         The Court having approved the parties’ Stipulation to Voluntary Remand
23   Pursuant to Sentence Four of 42 U.S.C. § 405(g) and to Entry of Judgment
24   (“Stipulation to Remand”) lodged concurrently with the lodging of the within
25   Judgment of Remand, IT IS HEREBY ORDERED, ADJUDGED AND
26   DECREED that the above-captioned action is remanded to the Commissioner of
27   Social Security for further proceedings consistent with the Stipulation to Remand.
28
     DATED: April 26, 2021
                                     HON. KENLY KIYA KATO
                                     UNITED STATES MAGISTRATE JUDGE
